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            UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO
                            Minutes of Proceeding/Minute Order

Date: February 14, 2019                        Honorable Thomas B. McNamara, Presiding
                                               Anne E. R. Tunnell, Law Clerk

In re:
                                                        Bankruptcy Case No. 19-10286 TBM
11380 Smith Rd LLC,                                     Chapter 7 (Involuntary Case)


Debtor.


11380 East Smith RD Investments, LLC,

Movant,

v.

11380 Smith Rd, LLC,

Respondent.
                    Appearances
Trustee                                               Counsel
Debtor                                                Counsel    Aaron A. Garber
Creditor    11380 East Smith RD Investments LLC       Counsel    Timothy M. Swanson, David A. Laird
Pet.Cred.   Tim Henzel/Mid America Plastic Systems    Counsel    Duncan E. Barber

PROCEEDINGS: Motion for Relief from Stay (Docket No. 11, the “Motion”) filed by 11380 East
Smith RD Investments, LLC (the “Lender”) and the Responses thereto filed by the Debtor (Docket
Nos. 20 & 22) and Mid America Plastic Systems and Tim Henzel (the “Petitioning Creditor”) (Docket
No. 21)

[X] The Court heard proffers of evidence from: the Lender; the Debtor; and the Petitioning Creditor.
Lender offered into evidence its Exhibits 1-18. Debtor objected to Exhibits 5 and 15 as hearsay.
The Debtor offered its Exhibits A (same as Lender’s Exhibit 17), Exhibit B (same as Lender’s Exhibit
18); and Exhibit C. The Lender objected to Exhibit C as hearsay, irrelevant, and for lack of
foundation. The Petitioning Creditor offered its Exhibits A and B. The Lender did not object to either
of the exhibits offered by the Petitioning Creditor.
[X] The Court sustained: the Debtor’s objections to the Lender’s Exhibits 5 and 15; and the Lender’s
objection to Debtor’s Exhibit C.
[X] The Court admitted into evidence; Lender’s Exhibits 1-4, 6-14 and 16-18; Debtor’s Exhibits A and
B (duplicates of Lender’s Exhibits 17 and 18 which have been admitted into evidence); and
Petitioning Creditor’s Exhibits A and B. See attached Lists.
[X] The Lender requested that if the Court were to grant its Motion, that it waive the stay of Fed. R.
Bankr. P. 4001(a)(3) and make its order effective immediately.
[X] The Court rendered oral findings and conclusions on the record granting the Motion.
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[X] After the Court granted the Lender’s Motion, the Debtor requested that the Court leave the stay of
Fed. R. Bankr. P. 4001(a)(3) in place to permit it to generate third party interest in bidding at the
foreclosure sale.
[X] The Lender advised that, as a practical matter, the earliest it could conduct its foreclosure sale
would be Wednesday, February 27, 2019. The Debtor indicated that would give it sufficient time.
________________________________________________________________________________

ORDERS:

[X] The Court finds that the Motion need not be set over for a final hearing under Section 362(e)(1).
[X] The Lender’s Motion (Docket No. 11) is GRANTED, effective immediately. The Court waived the
Fed. R. Bankr. P. 4001(a)(3) stay of its Order Granting Relief from Stay. The Court considered the
Debtor’s request to leave the stay in place which it made after the Court’s wavier of the Fed. R.
Bankr. P. 4001(a)(3). The Court concluded that its order waiving the Rule 4001(a)(3) would remain
in effect in light of the Lender’s representations that it would not conduct its foreclosure sale until
February 27, 2019, and the Debtor’s agreement that would be sufficient time for it to enlist third party
bids at the foreclosure sale.
[X] The Court ruled on the Involuntary Petition and the Debtor’s consent thereto (Docket No. 18).
The Court granted the relief requested under the Petition. A separate Order for Relief under Chapter
7 will enter. The Debtor’s stated intention to convert to Chapter 11 as noted in its consent is of no
effect. However, the Debtor may pursue its rights to convert consistent with applicable law and
procedure.
[X] Unless, the Lender elects not to pursue its remaining pending motions, the Lender’s Motion to
Dismiss (Docket No. 7) and its Motion to Prohibit Use of Cash Collateral (Docket No. 30), the Court
will address them in ordinary course upon the filing of a certificate of contested or non-contested
matter in accordance with L.B.R. 9013-1.
[X] Except as provided for in 11 U.S.C. § 363(c)(2), the Court admonished the Debtor that it may not
use cash collateral without the consent of any party holding an interest in such cash collateral.

Date: February 14, 2019

IT IS SO ORDERED:                                 FOR THE COURT:
                                                  Kenneth S. Gardner, Clerk of Bankruptcy Court



________________________________                  By: ___________________________________
Honorable Thomas B. McNamara                      Anne E. R. Tunnell, Law Clerk
United States Bankruptcy Judge
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